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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

 

DERON MCCOY II, #76894 )
)
Plaintiff, )
, ) Case No. 21-CV-03269-SAC
v. )
)
ARAMARK, et al )
)
Defendants. )
MARTINEZ REPORT

 

COMES NOW, counsel undersigned for the Kansas Department of Corrections as an
Interested Party (KDOC), and in accordance with the Court’s Order [Doc. #4, filed February 28,
2022] submits the following Martinez Report as an aid to the Court in further screening the merits
of DeRon McCoy, II (Resident McCoy) claims. This report is based upon affidavit testimony, as
well as previous lawsuits brought by the Plaintiff, and official internal facility documentation
available at the time of preparation. KDOC reserves the right to seek leave to supplement this
report in the unlikely event additional evidence is discovered or becomes available
Introduction

Resident McCoy has filed a pro se complaint pursuant to U.S.C. §1983. Count I: Cross-
Contamination Claim. Plaintiff claims a denial of his right to free exercise and Religious Land

Use and Institutionalized Person Act (R.L.U.I.P.A.) under the First Amendment when the Certified

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Religious Diet (CRD) was developed and implemented. Count II also claims a violation of
Plaintiff's First Amendment and RLUIPA for failing to supervise preparation and service of CRD
meals. Count III alleges violations of Plaintiffs First Amendment rights and RLUPIA on the basis

that he is served a vegan diet. He seeks compensatory and punitive damages.

Summary of Investigation
A review of the relevant facility documentation, along with interviews of witnesses and
persons knowledgeable about Plaintiff's claims have been compiled, and now are submitted to the
Court as Exhibits, either attached hereto or filed under seal, and incorporated as if fully set forth
herein. Based upon the foregoing inquiry, the findings and conclusions are rendered below and

cited to each supporting Exhibit.

 

 

 

 

 

 

 

 

 

 

 

 

INDEX OF EXHIBITS
Exhibit Description
A KASPER (Kansas Adult Supervised Population Electronic Repository)
Information Sheet
B 16-CV-3027 Order
C 16-CV-3027 Memorandum in Support of Motion for Summary Judgment
D IMPP 10-110D
E IMPP 10-106D
F Canteen Print Out
G Declaration of Rabbi Ben Friedman
H 16-3027 Martinez Report
I Grievance Response 1/28/2021
J Copy of Aramark’s Preparing a Kosher Environment

 

 

 

 

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K IMPP 10-119D

 

L Declaration of Randall Singletary

 

 

 

 

FINDINGS OF THE KDOC:

1. Deron McCoy, #76894 (McCoy) is a Resident currently in the custody of the Kansas
Department of Corrections and currently incarcerated at El Dorado Correctional Facility in
El Dorado, Kansas. He has convictions for Kidnapping, multiple convictions for Criminal
Possession of a Firearm by a Felon, Aggravated Escape from Custody, four (4) convictions
for Aggravated Assault on a Law Enforcement Officer, as well as numerous other
convictions, including felony Possession of Narcotics convictions. He is 39 years old.
(Exhibit A)

2. Resident McCoy was committed into the custody of the Kansas Department of Corrections
(KDOC) on March 6, 2012. (Exhibit A)

3. Plaintiff is currently housed at EDCF and has been since January 29, 2018. (Exhibit A)

4. On January 22, 2014, Plaintiff changed his religious preference from Protestant to
Assembly of Yahweh. (Exhibit H)

5. On August 25, 2014, Plaintiff changed his religious preference to Judaism. (Exhibit H)

6. Plaintiff has filed multiple cases regarding the kosher meal offerings available in the
Kansas Department of Corrections facilities. (Exhibit H)

7. Aramark is responsible for all aspects of food preparation and service at all KDOC
facilities, including staffing and supervising food service, including inmate labor. (Exhibit

L)

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8. Aramark has policies in place to ensure the CRD is correctly implemented. These policies
are periodically reviewed and approved by Aramark’s religious authority, Rabbi Fellig.
(Exhibit J). The relevant provision as to CRD in the Aramark Contract states:
“..[Aramark] shall provide other special diets as mutually agreed upon by [Aramark] and
the [KDOC] to include, but not limited to a certified religious diet and certain standardized
medical diets. [Aramark] shall be responsible for obtaining review of the certified religious
diet by appropriate religious advisor to ensure that the diet meets the requirements of a
certified religious diet as defined by the [KDOC] and shall provide proof of the review to
the [KDOC]. The KDOC’s procedures relating to religious diets are set out in Internal
Management Policy and Procedure (IMPP) 10-106D and 10-110D. (Exhibit E) (Exhibit D)
IMPP 10-106 provides that the menus shall be established by a provider under contract
with the Department to provide food services to inmates within the care and custody of the
Secretary of Corrections. (Exhibit E) These menus shall be subject to approval by the
Secretary or his designee and reviewed every six (6) months, or whenever substantial
changes in the menu are made by a registered dietician. The menus must meet basic
nutritional requirements for all meals served, including any alterations, substitutions and
modifications for medical, dental, mental health, religious purposes and alternative meal

service. (Exhibit E)

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The following provisions appear on each menu: “Follow all kosher preparation instructions
in recipes for Entrees, Starches, and Salads. Utensils used for scooping, cooking and
serving must be dedicated for kosher food use ONLY and stored in a special area. Serve
meal on disposable or designated kosher tray with disposable or kosher only tableware.”
(Exhibit L)

All food used in the preparation of the CRD menu is sourced from manufacturers that use
kosher manufacturing processes and Aramark maintains certificates for these food items
verifying they are kosher-certified. (Exhibit L)

All entrée items used in the CRD arrive at EDCF factory sealed, are portioned out of bulk
boxes, and are stored on separate shelving units from non-CRD food. (Exhibit L)
All CRD food items have kosher symbols either on the outer bulk packaging, or on the

individual packaging. (Exhibit L)

The sliced bread and milk do not have Kosher symbols on the individual packaging.
Aramark maintains certificates verifying they are in fact kosher. Jd. The fact that an item
served on the CRD does not maintain a kosher symbol on the packaging does not mean the

food is not kosher. (Exhibit L)

CRD foods are prepared with their own set of procedures and kitchen staff are trained on
those procedures by Aramark supervisors. (Exhibit L)

EDCF utilizes a separate oven for the preparation of warm CRD food, marked with a large
red sign that reads “kosher only.” (Exhibit L)

The stove is cleaned and sanitized prior to being used for the CRD. (Exhibit 1)

No steam kettles are used in the preparation of CRD food. (Exhibit L)

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CRD-designated utensils are used for the service of the CRD menu. These utensils are
engraved with a “K” and are kept in a locked cabinet accessible only by Aramark
supervisors. Usage of these utensils is noted in the logbook by Aramark supervisors.
(Exhibit L)

The CRD for general population residents is plated in a separate area of the kitchen line.
(Exhibit L)

Cold CRD items are prepared separately on a table wrapped in plastic. (Exhibit L)

Warm CRD items are kept heated in a CRD-designated steam well. (Exhibit L)

CRD meals for residents in segregation are prepared in the CRD-designated area of the
kitchen and stacked in a separate area of the food warmer after being wrapped in plastic.
The CRD meals in the warmer do not touch non-CRD meals. (Exhibit L)

Menu items used in the CRD are stored separately from non-CRD food items. (Exhibit L)
CRD-designated pots and pans are washed and stored separately from non-CRD items.
(Exhibit L)

Defendant Randall Singletary is the contract manager for KDOC. In that capacity, Mr.
Singletary reviews each approved menu, monitors contract requirements, prepared and
processed contract amendments, and conducted food service operation inspections.
(Exhibit L)

Mr. Singletary is not present for day-to-day food preparation and service at EDCF. None
of the food service employees at EDCF are KDOC employees. (Exhibit L)

Mr. Singletary periodically conducts inspections of Aramark’s delivery of food services,
including Aramark’s delivery. of the CRD menu. Mr. Singletary conducted audit

inspections on November 30, 2021, and February 16, 2022, and of EDCF’s food services

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and found that the authorized menus were being used and the kitchen had appropriate
kosher food preparation practices. (Exhibit L)

Each resident at EDCF has been issued their own reusable spork for all meals. (Exhibit L).
EDCF utilizes disposable trays for all CRD meals. (Exhibit L)

Soy-based meat replacements are sufficient for a kosher diet. (Exhibit G)

Jewish traditions include celebrating Holidays with kosher treats. Rabbi Fellig has
approved the CRD meals and menus, and these include the meals provided on Holidays.
(Exhibit L)

Grape juice and challah should be provided to residents for Holidays. (Exhibit G)
Residents in segregation should be allowed to mark the Jewish Holiday Shavuot with dairy
of some form. (Exhibit G)

Plaintiff habitually deviates from a Kosher diet when making his commissary purchases.
On page 5 of Exhibit F, Plaintiff made a purchase of Pepe Hot and Spicy Pork Rinds, which

are not Kosher. (Exhibit F)

Respectfully Submitted,

/s/_Jocilyn B. Oyler

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Legal Counsel

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CERTIFICATE OF SERVICE

I hereby certify that on the 29™ day of July, 2022, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
to the following:

Attorney General’s Office
120 S.W. 10" Ave.
Topeka, Kansas 66612-1597

Natasha Carter

Chief Legal Counsel

Kansas Department of Corrections
714 SW Jackson St., Suite 300
Topeka, Kansas 66603

I hereby certify that a true and correct copy of the foregoing was sent via intra-facility mail on this
29" of July, 2022 to:

Deron McCoy, 76894

El Dorado Correctional Facility
P.O. Box 311

El Dorado, Kansas 67042

/s/_ Jocilyn B. Oyler
Jocilyn B. Oyler

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